Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 1 of 46 PageID #: 2299



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

   JOHN M. KLUGE,

                               Plaintiff,   Case No. 1:19-cv-2462-JMS-KMB
                     v.                           THE HONORABLE
                                                JANE MAGNUS-STINSON
   BROWNSBURG COMMUNITY         SCHOOL
   CORPORATION, et al.,

                             Defendants.

                       PLAINTIFF’S REPLY IN SUPPORT OF
                      MOTION FOR SUMMARY JUDGMENT AND
                          RESPONSE IN OPPOSITION TO
                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 2 of 46 PageID #: 2300



                                                   TABLE OF CONTENTS

  TABLE OF AUTHORITIES .................................................................................................. iv

  INTRODUCTION ................................................................................................................ 1

  MR. KLUGE’S STATEMENT OF MATERIAL FACTS IN DISPUTE ........................................... 2

  MR. KLUGE’S RESPONSE TO THE DISTRICT’S STATEMENT OF MATERIAL FACTS IN
  DISPUTE .......................................................................................................................... 9

  ARGUMENT .................................................................................................................... 13

       I.        Mr. Kluge is entitled to summary judgment on his religious
                 discrimination claim (and the district is not) because the district revoked
                 a reasonable accommodation without showing undue hardship. .............. 13

                 A. Mr. Kluge established a prima facie case of discrimination................. 13

                      1. The district largely concedes Mr. Kluge’s prima facie case. ........... 13

                      2. No reasonable factfinder could doubt Mr. Kluge’s sincerity. .......... 14

                           a. The district wrongly attempts to hijack the sincerity analysis
                              to second-guess the contours of Mr. Kluge’s beliefs. .................. 14

                           b. The district misrepresents the teachings of Mr. Kluge’s
                              presbytery, teachings Mr. Kluge modeled. ................................. 15

                           c. Mr. Kluge consistently lived out his religious beliefs. ............... 16

                 B. The district withdrew the reasonable accommodation it extended to
                    Mr. Kluge without the undue hardship Title VII requires................... 17

                      1. The district cannot show any increased costs that are substantial
                         in the overall context of its business. ............................................... 17

                      2. A few third-party grumblings do not create undue hardship. ........ 19

                           a. No amount of relabeling changes the fact that the district
                              rescinded Mr. Kluge’s accommodation due to complaints. ........ 19

                           b. A few third-party grumblings do not create an undue burden
                              for the district as a whole. ........................................................... 22

                           c. A few grumblings from those with an illegitimate expectation
                              of universal affirmation do not create undue hardship. ............ 22

                      3. It is the district’s policy that poses the real harm to students. ...... 23

                      4. Redefined educational interests do not create undue hardship. ..... 26

                           a. The district ignores the scope of its educational mission........... 26


                                                                  ii
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 3 of 46 PageID #: 2301



                          b. By redefining its educational mission, the district runs afoul
                             of the First Amendment. ............................................................. 27

                          c. Even under the guise of “educational philosophy,” Baz v.
                             Walters is no longer good law and does not control. ................... 29

                     5. Evidence not relied on by the district when it forced Mr. Kluge to
                        resign cannot show undue hardship. ............................................... 30

                     6. Hypothetical litigation does not show undue hardship. .................. 30

      II.       Mr. Kluge is entitled to summary judgment on his retaliation claim (and
                the district is not) because his statutorily protected activities caused the
                district’s adverse actions. ............................................................................ 32

                A. Mr. Kluge never waived his retaliation claim. ...................................... 32

                B. Mr. Kluge established a prima facie case for retaliation. ..................... 32

                     1. The district does not contest that Mr. Kluge engaged in
                        statutorily protected activities and suffered an adverse action. ..... 32

                     2. Mr. Kluge showed a but-for causal link between his protected
                        activity and the district’s adverse actions........................................ 32

                C. Mr. Kluge need not prove pretext because he relied on direct proof
                   and the district had no legitimate reason for forcing him to resign. ... 34

  CONCLUSION ................................................................................................................. 35

  CERTIFICATE OF SERVICE .............................................................................................. 37




                                                                iii
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 4 of 46 PageID #: 2302



                                             TABLE OF AUTHORITIES

  Constitutional Provisions

  IND. CONST. art. VIII, § 1 ............................................................................................. 26

  U.S. CONST. art. VI, ¶ 2 ............................................................................................... 29

  Cases

  Adeyeye v. Heartland Sweeteners, LLC,
        721 F.3d 444 (7th Cir. 2013) ................................................................... 1, 15, 17

  Ansonia Board of Education v. Philbrook,
       479 U.S. 60 (1986) ............................................................................................... 8

  Baz v. Walters,
         782 F.2d 701 (7th Cir. 1986) ............................................................................. 29

  Bonner ex rel. Bonner v. Daniels,
       907 N.E.2d 516 (Ind. 2009) ............................................................................... 26

  Boumehdi v. Plastag Holdings, LLC,
       489 F.3d 781 (7th Cir. 2007) ............................................................................. 34

  Cullin v. Olin Corp.,
        195 F.3d 317 (7th Cir. 1999) ............................................................................. 30

  Davila v. Gladden,
        777 F.3d 1198 (11th Cir. 2015) ......................................................................... 14

  Draper v. United States Pipe & Foundry Co.,
       527 F.2d 515 (6th Cir. 1975) ............................................................................. 21

  EEOC v. Abercrombie & Fitch Stores, Inc.,
      575 U.S. 768 (2015) ..................................................................................... 28, 29

  EEOC v. Ilona of Hungary, Inc.,
      108 F.3d 1569 (7th Cir. 1997) ........................................................................... 17

  EEOC v. Walmart Stores East, L.P.,
      992 F.3d 656 (7th Cir. 2021) ......................................................................... 1, 18

  Franks v. Bowman Transportation Co.,
       424 U.S. 747 (1976) ........................................................................................... 21

  Genas v. New York Department of Correctional Services,
        75 F.3d 825 (2d Cir. 1996) ................................................................................ 23

  Giese v. City of Kankakee,
         71 F.4th 582 (7th Cir. 2023) ............................................................................. 32

  Gillette v. United States,
         401 U.S. 437 (1971) ..................................................................................... 14, 17

                                                              iv
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 5 of 46 PageID #: 2303



  Gregoire v. Centennial School District,
        907 F.2d 1366 (3d Cir. 1990) ............................................................................ 27

  Groff v. DeJoy,
         35 F.4th 162 (3d Cir. 2022) ............................................................................... 18

  Groff v. DeJoy,
         600 U.S. 447 (2023) .......... 1, 17, 18, 19, 20, 21, 22, 23, 26, 28, 29, 31, 32, 33, 35

  Hedges v. Wauconda Community Unit School District Number 118,
       9 F.3d 1295 (7th Cir. 1993) ......................................................................... 10, 28

  Horner v. Curry,
       125 N.E.3d 584 (Ind. 2019) ............................................................................... 27

  Hunt-Golliday v. Metropolitan Water Reclamation District of Greater Chicago,
       104 F.3d 1004 (7th Cir. 1997) ........................................................................... 33

  Kennedy v. Bremerton School District,
       597 U.S. 507 (2022) ............................................................................... 23, 28, 30

  Kluge v. Brownsburg Community School Corp.,
        2023 WL 4842324 (7th Cir. July 28, 2023) ........................................................ 1

  Kluge v. Brownsburg Community School Corp.,
        548 F. Supp. 3d 814 (S.D. Ind. 2021).......................................... 1, 13, 15, 19, 32

  Kluge v. Brownsburg Community School Corp.,
        64 F.4th 861 (7th Cir. 2023) ................................................................... 2, 14, 32

  Korte v. Sebelius,
        735 F.3d 654 (7th Cir. 2013) ............................................................................. 14

  Linke v. Northwestern School Corp.,
        763 N.E.2d 972 (Ind. 2002) ............................................................................... 27
  Littlefield v. Forney Independent School District,
          268 F.3d 275 (5th Cir. 2001) ............................................................................. 14

  Matthews v. Wal-Mart Stores, Inc.,
       417 F. App’x 552 (7th Cir. 2011)....................................................................... 31

  McKennon v. Nashville Banner Publishing Co.,
       513 U.S. 352 (1995) ........................................................................................... 30

  Meriwether v. Hartop,
       992 F.3d 492 (6th Cir. 2021) ............................................................................. 28

  Minkus v. Metropolitan Sanitary District of Greater Chicago,
       600 F.2d 80 (7th Cir. 1979) ............................................................................... 31

  Morse v. Frederick,
        551 U.S. 393 (2007) ........................................................................................... 28


                                                             v
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 6 of 46 PageID #: 2304



  Nagy ex rel. Nagy v. Evansville-Vanderburgh School Corp.,
        844 N.E.2d 481 (Ind. 2006) ............................................................................... 27

  Nichols v. Southern Illinois University-Edwardsville,
        510 F.3d 772 (7th Cir. 2007) ............................................................................. 34

  Ovadal v. City of Madison,
       416 F.3d 531 (7th Cir. 2005) ............................................................................. 10

  Patrick v. LeFevre,
        745 F.2d 153 (2d Cir. 1984) .............................................................................. 14

  Robertson v. Department of Health Services,
        949 F.3d 371 (7th Cir. 2020) ............................................................................. 35

  Rodriguez v. City of Chicago,
        156 F.3d 771 (7th Cir. 1998) ............................................................................... 8

  Thomas v. Review Board of Indiana Employment Security Division,
       450 U.S. 707 (1981) ..................................................................................... 14, 16

  Tinker v. Des Moines Independent Community School District,
        393 U.S. 503 (1969) ........................................................................................... 28

  Venters v. City of Delphi,
        123 F.3d 956 (7th Cir. 1997) ............................................................................. 30

  Whitaker ex rel. Whitaker v. Kenosha Unified School District Number 1 Board of
       Education,
       858 F.3d 1034 (7th Cir. 2017) ........................................................................... 31

  Yellowbear v. Lampert,
        741 F.3d 48 (10th Cir. 2014) ................................................................. 14, 15, 16

  Zamecnik v. Indian Prairie School District Number 204,
       636 F.3d 874 (7th Cir. 2011) ............................................................................. 22
  Statutes

  42 U.S.C. § 2000e(j) ..................................................................................................... 23

  Rules

  FED. R. EVID. 106 ............................................................................................................ 3

  FED. R. EVID. 602 ........................................................................................................... 5

  Historical Documents

  NOAH WEBSTER, AN AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1856) ....... 27

  Journal Articles

  AM. PSYCHOL. ASS’N, APA HANDBOOK ON SEXUALITY AND PSYCHOLOGY (2014) ........... 23

                                                                vi
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 7 of 46 PageID #: 2305



  Annette L. Cantu, et al., Changes in Anxiety & Depression from Intake to First
       Follow-Up Among Transgender Youth in a Pediatric Endocrinology Clinic,
       5:3 TRANSGENDER HEALTH 196 (2020) .............................................................. 25

  C.M. Wiepjes, et al., The Amsterdam Cohort of Gender Dysphoria Study (1972–
        2015): Trends in Prevalence, Treatment, and Regrets,
        15 J. SEX. MED. 582 (Apr. 2018) ........................................................................ 24

  C.M. Wiepjes, et al., Trends in Suicide Death Risk in Transgender People:
        Results from the Amsterdam Cohort of Gender Dysphoria Study (1972–
        2017),
        141 ACTA PSYCHIATRICA SCANDINAVICA 486 (2020).......................................... 24

  Cecilia Dhejne, et al., Long-Term Follow-Up of Transsexual Persons Undergoing
         Sex Reassignment Surgery: Cohort Study in Sweden,
         6:2 PLOS ONE 1 (2011) ............................................................................... 24, 26

  Devita Singh, et al., A Follow-Up Study of Boys With Gender Identity Disorder,
        FRONTIERS IN PSYCHIATRY (Mar. 29, 2021), https://bit.ly/3Fr55vy .................. 23

  Diane Chen, et al., Consensus Parameter: Research Methodologies to Evaluate
        Neurodevelopmental Effects of Pubertal Suppression in Transgender
        Youth,
        5:4 TRANSGENDER HEALTH 246 (2020) .............................................................. 25

  Elizabeth Hisle-Gorman, et al., Mental Healthcare Utilization of Transgender
        Youth Before & After Affirming Treatment,
        18 J. SEXUAL MED. 1444 (2021) ........................................................................ 25

  Evidence Review: Gender-Affirming Hormones for Children & Adolescents with
        Gender Dysphoria,
        NICE (2020)................................................................................................. 25, 26

  Evidence Review: Gonadotrophin Releasing Hormone Analogues for Children &
        Adolescents with Gender Dysphoria,
        NICE (2020)....................................................................................................... 25

  Henk Asscheman, et al., A Long-Term Follow-Up Study of Mortality in
       Transsexuals Receiving Treatment with Cross-Sex Hormones,
       164:4 EUR. J. ENDOCRINOLOGY 635 (2011) ....................................................... 26

  James M. Cantor, Do Trans Kids Stay Trans When They Grow Up?,
       SEXOLOGY TODAY! (Jan. 11, 2016), https://bit.ly/3FoWtp1 ................................ 24

  Jay McNeil, et al., Suicide in Trans Populations: A Systematic Review of
       Prevalence and Correlates,
       4:3 PSYCH. OF SEXUAL ORIENTATION & GENDER DIVERSITY 341 (2017) ........... 24

  Kellan E. Baker, et al., Hormone Therapy, Mental Health, & Quality of Life
        Among Transgender People: A Systematic Review,
        5:4 J. ENDOCRINE SOC’Y 1 (2021), https://bit.ly/42dOINf ................................. 24




                                                             vii
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 8 of 46 PageID #: 2306



  L.E. Kuper, et al., Body Dissatisfaction and Mental Health Outcomes of Youth on
        Gender-Affirming Hormone Therapy,
        PEDIATRICS (2020), https://bit.ly/4b5XlxD ........................................................ 24

  Laura E. Kuper, et al., Body Dissatisfaction & Mental Health Outcomes of Youth
        on Gender-Affirming Hormone Therapy,
        145:4 PEDIATRICS 1 (2020) ................................................................................ 24

  Michael Biggs, The Dutch Protocol for Juvenile Transsexuals: Origins &
       Evidence,
       49 J. SEX & MARITAL THERAPY 348 (2022), https://bit.ly/3SyYjtV ................... 25

  Polly Carmichael, et al., Short-Term Outcomes of Pubertal Suppression in a
         Selected Cohort of 12 to 15 Year Old Young People with Persistent Gender
         Dysphoria in the UK,
         16:2 PLOS ONE 1 (Feb. 2, 2021), https://bit.ly/3FrBXnQ .......................... 24, 25

  Riittakerttu Kaltiala, et al., Adolescent Development and Psychosocial
         Functioning after Starting Cross-Sex Hormones for Gender Dysphoria,
         74:3 NORDIC J. PSYCHIATRY 213 (2020) ............................................................ 25

  T. Brik, et al., Trajectories of Adolescents Treated with Gonadotropin Releasing
        Hormone Analogues for Gender Dysphoria,
        49 ARCH. SEX BEHAV. 7, doi:10.1007/s10508-020-01660-8,
        https://bit.ly/3OhdXsp ....................................................................................... 24

  Thomas D. Steensma, et al., Factors Associated With Desistence and Persistence of
       Childhood Gender Dysphoria: A Quantitative Follow-Up Study,
       52 J. OF AM. ACAD. OF CHILD & ADOLESCENT PSYCH. 6 (June 2013),
       https://bit.ly/3FoXkpJ ........................................................................................ 24

  W. BOCKTING, TRANSGENDER IDENTITY DEVELOPMENT .......................................... 23, 24

  Wylie C. Hembree, et al., Endocrine Treatment of Gender-Dysphoric/Gender-
        Incongruent Persons: An Endocrine Society Clinical Practice Guideline,
        102:11 J. CLINICAL ENDOCRINAL METAB. 3869 (2017) ........................................ 25

  Litigation Documents

  Submission of Evidentiary Material, Ex. 27,
       K.C. v. Individual Members of the Medical Licensing Board of Indiana,
       No. 1:23-cv-00595-JPH-KMB (June 1, 2023), ECF No. 49-10 ......................... 25

  Other Authorities

  Brownsburg High School,
       PUB. SCH. REV., https://bit.ly/3FNz54F ....................................................... 19, 22

  Brownsburg High School,
       U.S. NEWS & WORLD REPS., https://bit.ly/49gzs5r ....................................... 19, 22

  Grumble,
      DICTIONARY.COM, https://bit.ly/47z764p ........................................................... 10


                                                           viii
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 9 of 46 PageID #: 2307



  Grumble,
      MERRIAM WEBSTER, https://bit.ly/3tNPaFn...................................................... 10




                                                  ix
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 10 of 46 PageID #: 2308



                                       INTRODUCTION
         Brownsburg has not yet grappled with how Title VII religious discrimination

   law has changed after Groff v. DeJoy, 600 U.S. 447 (2023). Yet that’s why we are here.

   Kluge v. Brownsburg Cmty. Sch. Corp., 2023 WL 4842324, *1 (7th Cir. July 28, 2023).

         The district repeatedly urges this Court to repeat its findings and legal conclu-

   sions, citing its prior decision 22 times. But this Court cannot merely rinse and repeat

   that ruling for the underlying law has fundamentally changed. This Court previously

   relied on the “more than a de minimis cost” and “more than a ‘slight burden’” stand-

   ard. Kluge v. Brownsburg Cmty. Sch. Corp. (Kluge I), 548 F. Supp. 3d 814, 843 (S.D.

   Ind. 2021) (quoting EEOC v. Walmart Stores E., L.P., 992 F.3d 656, 658 (7th Cir.

   2021)). But the Supreme Court discarded it and abrogated Walmart. Groff, 600 U.S.

   at 466 n.12, 468, 470. It also ruled that complaints from coworkers or constituents

   about a religious practice or about accommodating it are “off the table” for showing

   an undue hardship (or a legitimate reason for adverse action). Id. at 472–73.

         Yet the district points to nothing else to justify its decision to force Mr. Kluge,

   a talented and dedicated teacher, to resign. To be sure, it relabels these few com-

   plaints as lofty interests, but the only evidence it provides to validate these interests
   is the few complaints. That’s not good enough under Groff. Id.

         Congress passed Title VII to “ensure that employees would not have to sacrifice

   their jobs to observe their religious practices.” Adeyeye v. Heartland Sweeteners, LLC,

   721 F.3d 444, 456 (7th Cir. 2013). Here, one teacher of over 160 (i.e., 0.625% of the

   faculty) requested a religious accommodation that simply allowed him to remain si-
   lent on transgender issues and focus on his job of teaching music. One teacher silently

   stepping off of an ideological bandwagon cannot pose an undue hardship to the dis-

   trict as a whole, as Title VII now requires. Groff, 600 U.S. at 468. And the complaints

   change nothing. For Title VII does not protect only those religious practices or accom-

   modations that everyone likes, as those need little (if any) legal protection.



                                              1
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 11 of 46 PageID #: 2309



                MR. KLUGE’S STATEMENT OF MATERIAL FACTS IN DISPUTE
      1. Mr. Kluge disputes that this Court ruled on summary judgment in Filing No.

   70. [Filing No. 185 at 6 ¶ 5.] It did so in Filing No. 159.

      2. Mr. Kluge disputes that he waived his retaliation claim. [Filing No. 185 at 6 ¶

   7.] Kluge v. Brownsburg Cmty. Sch. Corp. (Kluge II), 64 F.4th 861, 897 (7th Cir. 2023).

      3. Mr. Kluge disputes that he seeks summary judgment on the affirmative de-

   fense of undue hardship. [Filing No. 185 at 7 ¶ 11.] He seeks it on his discrimination

   and retaliation claims. [Filing No. 182 at 1, 5.] Undue hardship is part of the former.

      4. Mr. Kluge disputes any use of his church’s or presbytery’s teachings to under-

   mine his claims. [Filing No. 185 at 7–8 ¶¶ 12, 14.] The issue is his religious beliefs.

      5. Mr. Kluge disputes that The Book of Church Order of Evangel Presbytery pre-

   scribes rules “[i]n addition to Scripture.” [Filing No. 185 at 7 ¶ 12.] It states that the

   “Bible … is the sole and final source of authority for all that we believe and do” and

   that it is merely “the Presbytery’s final interpretive authority on the Bible’s meaning

   and application.” [Filing No. 120-4 at 16 ¶ 27.] The district quotes a section that ex-

   plains it represents the presbytery’s attempt “to declare our Scriptural convictions

   and commitments concerning sexuality” due to new cultural trends. [Id. at 8.]
      6. Mr. Kluge disputes the district’s summary of his beliefs. [Filing No. 185 at 8 ¶

   13.] He believes (1) God “created us as a man or a woman,” (2) it is wrong “to act or

   dress in the manner of the opposite sex,” (3) it would be sinful for him to “encourage[ ]

   students in transgenderism,” and (4) causing children to stumble in this way would

   subject him to “special punishment” from God. [Filing No. 113-1 at 6–9.] He believes
   God-ordained “[g]enetic sex” “cannot be separated” from gender identity. [Filing No.

   120-3 at 11 (Kluge Dep. at p. 38, line 8 to p. 39, line 4).] These beliefs prevent him

   from using transgender terms “during the [regular] course of ... teaching a class,” as

   doing so “encourages gender dysphoria.” [Id. at 8–9 (Kluge Dep. at p. 29, line 20 to p.

   30, line 3).] In other situations (e.g., an awards ceremony), they do not as using those



                                               2
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 12 of 46 PageID #: 2310




   terms there does not have the same effect. [Id. at 8, 33–34 (Kluge Dep. at p. 28, line

   23 to p. 29, line 24; p. 126, line 7 to p. 130, line 9).]

      7. Mr. Kluge disputes that his presbytery permits “tolerance” for “effeminacy.”

   [Filing No. 185 at 8 ¶ 14.] His testimony does not change the presbytery’s written

   beliefs. Neither “tolerance” nor a variant appears in the presbytery’s Book of Church

   Order. [Filing No. 120-4 at 12.] Nor does it let transgender-identifying persons use

   their chosen restroom; it directs them to use a “single-stall” restroom until church

   leaders can present “pastoral counseling concerning God’s call for manhood and wom-

   anhood and … Jesus’s Lordship over her sexuality and the implications it has for her

   sexual identity and its public expression.” [Id.] It also notes (1) God created “two and

   only two sexes, male and female”; (2) “[g]enetic sex and sexual identity cannot be

   separated”; and (3) it is sinful to “reject … one’s sex and to adopt characteristics of

   the opposite sex.” [Id. at 9–10.] It does not condone the use of transgender terms. [Id.

   at 8–16.] The entire book must be considered if any of it is. FED. R. EVID. 106.

      8. Mr. Kluge never testified “there are instances where it is appropriate and con-

   sistent with his religious beliefs to address a transgender student by the student’s

   first name,” even if it is a transgender name. [Filing No. 185 at 8–9 ¶ 15.] When asked

   if such circumstances might exist, he answered: “There might be. None come to mind

   right now.” [Filing No. 120-3 at 8 (Kluge Dep. at p. 29, lines 20–24).] He explained

   that using transgender names “during the course of teaching a class of students” is

   “not appropriate” as “it encourages gender dysphoria.” [Id. at 8–9 (Kluge Dep. at p.

   29, line 25 to page 30, line 3).] When asked if he “promot[ed] a transgender lifestyle”

   by briefly using them at the awards ceremony, he replied: “I don’t believe I was[.]”

   [Id. at 33–34 (Kluge Dep. at p. 129, line 13 to p. 130, line 9).]

      9. Mr. Kluge disputes that, in the 2017–18 school year, “[s]taff were … required

   to use the name in PowerSchool,” even transgender ones. [Filing No. 185 at 11 ¶ 20.]

   At the start of that year, after explaining the new name-change rules, Counselor


                                                  3
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 13 of 46 PageID #: 2311




   Mehrtens told Mr. Kluge and others to “feel free” to use students’ transgender names

   and pronouns. [Filing Nos. 120-10 at 2; 15-3 at 3; 120-3 at 13–14 (Kluge Dep. at p. 48,

   line 5 to p. 49, line 22; p. 52, lines 3–13).] Only after Mr. Kluge raised his religious

   objection did officials convert this invitation into a requirement. [Filing Nos. 15-3 at

   3; 120-3 at 14 (Kluge Dep. at p. 52, lines 14–21); 113-5 at 5–6 (Daghe Dep. at p. 30,

   lines 5–23; p. 34, lines 3–7; p. 36, lines 15–21).]

      10. Mr. Kluge disputes that “[a]t least two transgender students in [his] classes

   legally changed their birth names to their ‘transgender name.’” [Filing No. 185 at 12

   ¶ 24 n.1.] This wrongly suggests they did so while in his classes. Sucec, one of the

   two, submitted a sworn statement in August 2019, saying: “I also recently corrected

   my legal name on my birth certificate and my social security card.” [Filing No. 22-3

   at 2 ¶ 6.] There is no evidence Sucec did this while attending Mr. Kluge’s class, which

   would not have been “recent” given Mr. Kluge’s May 2018 forced resignation. [Filing

   No. 120-18 at 2, 8–9, 18.] Willis, the other, submitted a sworn statement in October

   2019, saying: “I legally changed my name to ‘Samuel’ … on June 11 of this year.”

   [Filing No. 58-1 at 2 ¶ 3.] That was long after Willis had attended Mr. Kluge’s class.

      11. Mr. Kluge disputes that he referred to a student as “Miss,” rather than by last

   name. [Filing No. 185 at 15 ¶ 32.] The cited email represents the parent’s request to

   change the student’s name in PowerSchool, and so the district’s transgender termi-

   nology practice and Mr. Kluge’s accommodation did not yet apply. Mr. Kluge, a con-

   tract teacher who worked with him during the 2017–18 school year, and three stu-

   dents in his classes that year all provided sworn declarations attesting that he ad-

   hered to the last-names accommodation and displayed no adverse behavior towards

   any transgender students. [Filing Nos. 52-1 at 3–4 ¶¶ 13–22; 52-2 at 3 ¶¶ 6–8; 52-3

   at 2–3 ¶¶ 3–11; 52-4 at 2 ¶¶ 3, 7; 52-5 at 2 ¶¶ 3–7; 52-6 at 3–4 ¶¶ 9, 14.]

      12. Mr. Kluge disputes the allegations from complaints attributed to (1) unnamed

   persons who attended Equality Alliance Club meetings and (2) teachers who did not


                                                4
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 14 of 46 PageID #: 2312




   submit sworn statements. [Filing No. 185 at 15–20 ¶¶ 33–41.] None of these were

   disclosed to Mr. Kluge until after his termination. None were investigated. People

   who were not in Mr. Kluge’s classes had no personal knowledge of what occurred

   there. FED. R. EVID. 602. There is no evidence that (1) Mr. Lee fully and accurately

   relayed these complaints to district administrators or (2) the district rescinded Mr.

   Kluge’s accommodation based on these club-meeting comments, which Principal

   Daghe, HR Director Gordon, and Superintendent Snapp never even obliquely refer-

   enced. Undisputed evidence shows the accommodation worked and did not affect “the

   overall functioning of the department.” [Filing No. 185 at 19 ¶ 41.] Mr. Kluge, a con-

   tract teacher who worked with him during the 2017–18 school year, three students

   in his classes that year, and a student’s parent provided sworn statements about how

   he treated all students the same. See supra Disputed Facts ¶ 11. Only one student

   asked him about the accommodation, and he answered with the coach analogy. [Filing

   No. 120-3 at 34 (Kluge Dep. at p. 130, line 20 to p. 131, line 7).] There were no dis-

   turbances, canceled classes, student protests, or written complaints. [Filing No. 113-

   2 at 4 ¶ 15.] His classes “perform[ed] very well” that year. [Filing No. 120-3 at 23

   (Kluge Dep. at p. 89, lines 16–18).] His orchestras performed “better than ever” in

   competitions, students excelled on their AP music-theory exams, several students re-

   ceived performance awards, and participation in the orchestras remained high. [Fil-

   ing Nos. 113-2 at 4 ¶ 15; 120-3 at 23–24 (Kluge Dep. at p. 89, line 15 to p. 90, line 4).]

      13. Mr. Kluge disputes the allegations in Sucec’s sworn statement. [Filing No. 185

   at 16–17 ¶¶ 35–36 (citing Filing No. 22-3).] Mr. Kluge previously identified credibility

   issues with it [Filing No. 53 at 17–25], including that Sucec admitted to the media

   and the school board that Mr. Kluge “treat[ed] all of his students the same” by “calling

   all of us by our last names.” [Id. at 18–19; id. at 25 (citing Filing No. 52-6 at 4 ¶ 14).]

      14. Mr. Kluge disputes the district’s claim that he treated Sucec different than any

   other student. [Filing No. 185 at 17 ¶ 36.] Mr. Kluge, a contract teacher who worked


                                               5
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 15 of 46 PageID #: 2313




   with him during the 2017–18 school year, three students in his classes that year, and

   a student’s parent all provided sworn declarations contradicting this. See supra Dis-

   puted Facts ¶ 11. Sucec contradicted it too. See supra Disputed Facts ¶ 13. Nor is

   there evidence Superintendent Snapp, Principal Daghe, or HR Director Gordon knew

   of the details of Sucec’s allegations or relied on them in terminating Mr. Kluge.

      15. Mr. Kluge disputes that he prompted Sucec’s decision to leave the orchestra

   and the high school. [Filing No. 185 at 17 ¶ 36.] Whatever Sucec may have told family

   members, there is no evidence that Sucec informed school officials of this decision,

   that district officials were aware of it before terminating Mr. Kluge, or that they re-

   lied on it when doing so. [Filing No. 22-3 at 4 ¶ 14 (“I told my mother….”).] Sucec

   notes that health issues and events after Mr. Kluge’s termination—not any acts of

   Mr. Kluge—prompted the decision to leave the high school. [Id. at 4–5 ¶¶ 15–16.]

      16. Mr. Kluge disputes that he targeted or mistreated Willis. [Filing No. 185 ¶ 38.]

   Mr. Kluge, a contract teacher who worked with him during the 2017–18 school year,

   three students in his classes that year, and a student’s parent contradicted this. See

   supra Disputed Facts ¶ 11. Sucec contradicted it too. See supra Disputed Facts ¶ 13.

   Willis also did. [Filing No. 58-1 at 3 ¶ 10 (“During the 2017–2018 school year, Mr.

   Kluge used last names to refer to the students in my orchestra class.”).] Nor is there

   any evidence Superintendent Snapp, Principal Daghe, or HR Director Gordon knew

   the details of Willis’ allegations or relied on them in terminating Mr. Kluge.

      17. Mr. Kluge disputes that Mr. Lee’s August 29, 2017, email is evidence Mr. Kluge

   discriminated. [Filing No. 185 at 18–19 ¶ 40 (quoting Filing No. 120-15).] Mr. Kluge’s

   accommodation was effective then. [Filing No. 148-2 at 9–10 (Daghe Dep. at p. 73,

   line 1 to p. 75, line 5).] As he was following it, Principal Daghe did not address the

   issue with him or communicate further with Mr. Lee, the students, or their parents

   about this issue. [Id. at 10 (Daghe Dep. at p. 75, lines 6–15).]

      18. Mr. Kluge disputes the district’s accounts of his December 2017 and January


                                              6
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 16 of 46 PageID #: 2314




   2018 meetings with Principal Daghe. [Filing No. 185 at 20–21 ¶¶ 42–44.] The district

   omits how Principal Daghe repeatedly pressured Mr. Kluge to resign because of the

   complaints and the tension they created. [Filing Nos. 15-3 at 5; 113-5 at 7–8 (Daghe

   Dep. at p. 51, line 13 to p. 57, line 14).]

      19. Mr. Kluge disputes that Transgender Questions was “an FAQ from a recent

   faculty meeting.” [Filing No. 185 at 22 ¶ 46.] It represented the first written district

   policy on transgender terminology, as prior communiques on the subject were invita-

   tions, not commands. [Filing No. 120-10 at 2 (“Feel free to use ‘he’….”).] The district

   adopted this policy only after Mr. Kluge objected to these terms, Superintendent

   Snapp engaged him in a theological debate over whose religious views were correct

   and issued a comply-resign-or-get-fired ultimatum, before the district acceded to the

   last-names accommodation. [Filing No. 183 at 10–13, 15–16 ¶¶ 8–11.] Transgender

   Questions states that once a transgender-identifying student changed his name in

   PowerSchool, the “name/gender in PowerSchool should be used,” including the “pro-

   noun associated with the gender … in PowerSchool.” [Filing No. 15-4 at 2, 4.] It also

   states the district could punish teachers for ‘calling the student the wrong name/pro-

   noun.” [Id. at 2.] It announces that Mr. Kluge’s accommodation would end as “moving

   forward it is our expectation that the student will be called by the first name listed

   in PowerSchool.” [Id. at 9.] This new policy sparked Mr. Kluge’s email.

      20. Mr. Kluge disputes the allegations about his February 2018 meeting with Prin-

   cipal Daghe and HR Director Gordon. [Filing No. 185 at 22 ¶ 47.] In this meeting,

   they told Mr. Kluge that if he did not use transgender terms the next school year, the

   district would fire him. [Filing No. 113-4 at 43 (Gordon Dep. Ex. 29 at p. 24, lines 5–

   8).] The only reason given for rescinding the accommodation was that some students

   were “offended by being called by their last name.” [Id. at 26 (Gordon Dep. Ex. 29 at

   p. 7, lines 16–19).] HR Director Gordon said “calling kids by their last name” is “just

   not what we do.” [Id. at 27 (Gordon Dep. Ex. 29 at p. 8, lines 18–20).] Principal Daghe


                                                 7
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 17 of 46 PageID #: 2315




   was only “willing to accommodate people who follow the policies” and said if using

   transgender terms is “what the policy is, we will all follow that policy.” [Id. at 29

   (Gordon Dep. Ex. 29 at p. 10, lines 6–8).] There was “no[ ] question of religious accom-

   modation” to them [id. at 47 (Gordon Dep. Ex. 29 at p. 28, lines 8–9)], as using last

   names would be “a policy violation. It’s a policy.” [Id. at 43 (Gordon Dep Ex. 29 at p.

   24, line 17).] Also, HR Director Gordon faced a conflict because Mr. Kluge alleged

   discrimination [id. at 25 (Gordon Dep. Ex. 29 at p. 6, lines 7–16)], but she never con-

   sidered her compliance officer duties triggered, as the district’s goal was for Mr. Kluge

   to resign or “follow the guidelines.” [Id. at 10, 12 (Gordon Dep. at p. 36, lines 15–22;

   p. 42, lines 1–20).] She suggested Mr. Kluge could submit a conditional resignation.

   [Id. at 36–37 (Gordon Dep. Ex. 29 at p. 17, line 6 to p. 18, line 8).] But she never told

   him that she and Superintendent Snapp were both administrators, so submitting his

   resignation to her was the same as submitting it to Superintendent Snapp. [Id. at 11

   (Gordon Dep. at p. 40, line 16 to p. 41, line 3).]

      21. Mr. Kluge disputes the district’s reliance on his response to HR Director Gor-

   don’s understanding of Title VII’s requirements. [Filing No. 185 at 22 ¶ 47.] An em-

   ployee’s understanding of the law—particularly one formed before Groff—does not

   change the district’s legal obligations. Plus, HR Director Gordon wrongly implied that

   Title VII requires employers to adopt only accommodations they deem reasonable.

   [Filing No. 113-4 at 27 (Gordon Dep. Ex. 29 at p. 8, lines 9–20).] Instead, a “reasonable

   accommodation is “one that ‘eliminates the conflict between employment require-

   ments and religious practices.’” Rodriguez v. City of Chi., 156 F.3d 771, 775 (7th Cir.

   1998) (quoting Ansonia Bd. of Educ. v. Philbrook, 479 U.S. 60, 70 (1986)).

      22. Mr. Kluge disputes the district’s account of why he used the names listed in

   PowerSchool at the awards ceremony. [Filing No. 185 at 23–24 ¶¶ 49–52.] He testified

   his reasons were: (1) his accommodation entitled him to use students’ last names like

   a coach, but he did not think a coach would “address students in such an informal


                                                8
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 18 of 46 PageID #: 2316




   manner at such a formal event” (unlike teachers in class), and he wanted to make “a

   good faith effort to work within the bounds of his accommodation”; and (2) he did not

   believe briefly using these terms promoted transgenderism, which his religious be-

   liefs prohibit, unlike “regularly … using transgender names” in the classroom. [Filing

   No. 120-3 at 33–34 (Kluge Dep. at p. 126, line 7 to p. 128 line 17; p. 129, line 13 to p.

   130, line 9).] While the district impugns the coach analogy [Filing No. 185 at 24 ¶ 52],

   HR Director Gordon, Principal Daghe, and Superintendent Snapp understood and

   accepted it. [Filing Nos. 120-3 at 17 (Kluge Dep. at p. 64, line 8 to p. 65, line 7); 148-

   1 at 5 (Snapp Dep. at p. 24, line 23 to p. 25, line 19).] No matter how the district’s

   coaches speak, everyone knew Mr. Kluge referred to coaches’ stereotypical behavior.

   Nor has the district provided any evidence that it has ever reprimanded or punished

   coaches, teachers, or other staff who refer to students by last names for other reasons.

                              MR. KLUGE’S RESPONSE TO
              THE DISTRICT’S STATEMENT OF MATERIAL FACTS IN DISPUTE

      1. The district disputes that Mr. Kluge drafted a letter in response to Mr. Lee’s

   and Ms. Mehrtens’ remarks. [Filing No. 185 at 25.] The district does not dispute that

   they spoke at faculty meetings about transgenderism in the spring of 2017 or to Mr.

   Kluge’s summary of them. [Filing No. 113-1 at 19.] Mr. Kluge’s letter references these

   faculty meetings, his “alarm[ ]” at their content, and their “very clear” message. [Id.]

      2. The district disputes that Mr. Kluge’s accommodation worked, citing only com-

   plaints. [Filing No. 185 at 26.] These complaints cannot constitute an undue hardship

   after Groff, and they suffer from various evidentiary and credibility flaws. See supra

   Disputed Facts ¶¶ 10–17. The undisputed evidence shows that Mr. Kluge treated all

   students the same (as even Sucec and Willis admit), that his classes experienced no

   disruptions while his accommodation was in effect, and his students and orchestras

   excelled during that time. See supra Disputed Facts ¶¶ 11–16.

      3. The district impugns (but does not dispute) Mr. Kluge’s coach analogy. [Filing



                                               9
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 19 of 46 PageID #: 2317




   No. 185 at 26.] When he used it, district officials accepted it. See supra Disputed Facts

   ¶ 22. There is no evidence he “call[ed] certain players harmful names.” [Filing No.

   185 at 26.] He called all students by their last names, as many (even Sucec and Willis)

   confirmed. See supra Disputed Facts ¶¶ 11–16. Using last names is not harmful, as

   the district provides no evidence it punishes staff who use them for other reasons.

   Nor is there any evidence district officials knew of Sucec’s alleged dread of orchestra

   or relied on it when terminating Mr. Kluge. See supra Disputed Facts ¶ 15.

      4. The district disputes that Mr. Kluge was “neutral” by referring to all students

   by last names. [Filing No. 185 at 13 ¶ 26.] Yet, Sucec and Willis, whom the district

   cites, admitted this, as did other students, teachers, and parents. See supra Disputed

   Facts ¶¶ 11–16. As Mr. Kluge explained, by “neutral,” he meant he was “not pushing

   [his] religion on people and … not encouraging the sinful behavior.” [Filing No. 120-

   3 at 24 (Kluge Dep. at p. 92, lines 8–16).] He said nothing about transgenderism and

   focused on teaching. [Id. at 8 (Kluge Dep. at p. 8, lines 1–10).] There is no evidence

   he deviated from his accommodation, let alone “regularly.” Nor is the awards cere-

   mony a “deviation,” as (1) the accommodation said he “may” (not must) use students’

   last names [Filing No. 15-1 at 1]; and (2) his speech there did not do what he believes

   is sinful (i.e., “promoting and encouraging transgenderism”). [Filing No. 120-3 at 33–

   34 (Kluge Dep. at p. 128, line 6 to p. 130, line 9).] See supra Disputed Facts ¶ 22.

      5. The district disputes Mr. Kluge’s description of the few complaints as grum-

   blings and a heckler’s veto. [Filing No. 185 at 27.] Yet “grumble” means “to … com-

   plain sullenly.” Grumble, DICTIONARY.COM, https://bit.ly/47z764p. Its synonym is

   “complain.” Grumble, MERRIAM WEBSTER, https://bit.ly/3tNPaFn. A heckler’s veto oc-

   curs when government officials use listener complaints (or worse) to silence a

   speaker. E.g., Ovadal v. City of Madison, 416 F.3d 531, 537 (7th Cir. 2005); Hedges v.

   Wauconda Cmty. Unit Sch. Dist. No. 118, 9 F.3d 1295, 1299 (7th Cir. 1993). The dis-

   trict admits Principal Daghe “cited the student and faculty complaints about the …


                                              10
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 20 of 46 PageID #: 2318




   accommodation as the reason” for asking Mr. Kluge to resign. [Filing No. 185 at 21 ¶

   45.] HR Director Gordon mentioned them again in February 2018 when she and Prin-

   cipal Daghe gave Mr. Kluge the comply-resign-or-get-fired ultimatum. [Filing No.

   113-4 at 26 (Gordon Dep. Ex. 29 at p. 7, lines 16–19).] So the descriptors are apt.

      6. The district disputes Mr. Kluge’s reference to the complaints, claiming he ig-

   nores evidence of harm to students, a disrupted learning environment, and interfer-

   ence with the district’s mission. [Filing No. 185 at 27.] The district presented no such

   evidence, citing only the few complaints, which do not represent an undue hardship

   after Groff. The latest research indicates the district’s policies harm students, not Mr.

   Kluge’s accommodation. See infra Argument I.B.3. The undisputed evidence is that

   Mr. Kluge’s classes experienced no disruption and that his students and his orches-

   tras excelled while his accommodation was in effect. See supra Disputed Facts ¶ 12.

      7. The district disputes Mr. Kluge’s quote from Mr. Lee’s email [Filing No. 185 at

   27], where Mr. Lee admits he is “very biased.” [Filing No. 120-15 at 2.] Biased observ-

   ers are more likely to convey facts inaccurately or exaggerate them to favor their bias.

      8. The district disputes that “Principal Daghe saw the ‘persecution and unfair

   treatment’ of Mr. Kluge as a reason for him to resign[.]” [Filing No. 185 at 27–28.]

   This summarizes Mr. Kluge’s undisputed testimony as to what Principal Daghe said

   in December 2017. The district points to what the principal said two months later,

   after it unveiled Transgender Questions and said it would rescind the accommodation.

   The district provided no evidence beyond complaints and officials’ opinions that the

   accommodation (where Mr. Kluge said nothing about transgenderism) “harmed” stu-

   dents. The latest science contradicts those opinions. See infra Argument I.B.3.

      9. The district disputes Mr. Kluge’s quotation of Dr. Jessup’s affidavit. [Filing No.

   185 at 28.] The quote summarizes the district’s reasons for requiring “[s]taff … to use

   the name in PowerSchool,” even transgender ones. [Filing No. 120-1 at 2 ¶¶ 7–8.]

   Transgender Questions mandated teachers use “the name/gender in PowerSchool,”


                                              11
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 21 of 46 PageID #: 2319




   including “the pronoun associated with [that] gender.” [Filing 15-4 at 2, 4, 6, 9.] And

   it gave the reason, condemning teachers like Mr. Kluge as “not being accepting.” [Id.

   at 10.] So Dr. Jessup summarizes the objectives and effects of Transgender Questions.

      10. The district disputes that it “left no rule for Title VII religious accommoda-

   tions.” [Filing No. 185 at 28.] Transgender Questions requires teachers to follow dis-

   trict policies without exception: “[W]hen you work in a public school you sign up to

   follow the law and the policies/practices of that organization[.]” [Filing No. 15-4 at

   10.] The “might” refers to how teachers’ “biases and beliefs” might differ from the

   policies. Plus, Transgender Questions says Mr. Kluge’s accommodation would end:

   “We have agreed to [last names only] for the 2017–2018 school year, but moving for-

   ward it is our expectation the student will be called by the first name in PowerSchool.”

   [Id. at 9.] It declares teachers cannot refuse to use a student’s transgender name once

   listed in PowerSchool. [Id.] Principal Daghe said he would only “accommodate people

   who follow the policies.” [Filing No. 113-4 at 29 (Gordon Dep. Ex. 29 at p. 10, lines 6–

   8).] To HR Director Gordon, there was “no[ ] question of religious accommodation.”

   [Id. at 47 (Gordon Dep. Ex. 29 at p. 28, lines 8–9).]

      11. The district disputes that the only reason given for rescinding Mr. Kluge’s ac-

   commodation was that students were offended and that the district never mentioned

   undue hardship, increased cost, or disruption to the learning environment as its rea-

   sons. [Filing No. 185 at 29.] The February 2018 meeting’s transcript bears this out.

   HR Director Gordon justified rescinding the accommodation, saying: “[S]tudents …

   [a]re offended by being called by their last name.” [Filing No. 113-4 at 26 (Gordon

   Dep. Ex. 29 at p. 7, lines 16–19).] Neither official mentioned undue hardship, in-

   creased cost, or a disrupted learning environment. The district’s only evidence for

   these interests is the few complaints that do not show undue hardship after Groff.

      12. The district disputes that HR Director Gordon had to investigate Mr. Kluge’s

   religious discrimination claims. [Filing No. 185 at 29.] Nothing in its policy even


                                              12
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 22 of 46 PageID #: 2320




   suggests she could ignore them. Instead, it details how she could receive claims di-

   rectly, could conduct an informal process only at Mr. Kluge’s request (which he never

   made), and had to “contact [him] within two (2) business days to advise him[ ] of the

   [district’s] intent to investigate.” [Filing No. 113-4 at 14–15.]

        13. The district objects to Mr. Kluge describing his resignation as conditional,

   claiming the only condition was the date. [Filing No. 185 at 29–31.] HR Director Gor-

   don suggested Mr. Kluge could submit a conditional resignation. [Filing No. 113-4 at

   36–37 (Gordon Dep. Ex. 29 at p. 17, line 6 to p. 18, line 8).] She never told him that

   she and Superintendent Snapp were both administrators, so submitting his resigna-

   tion to her was the same as submitting it to him. See supra Disputed Facts ¶ 20. Mr.

   Kluge believed he could rescind a letter submitted under the duress of trying to pre-

   serve his summer pay because he asked her “not [to] process this letter … before May

   29.” [Filing No. 120-17 at 2.] When she agreed [id.], he believed he could rescind it

   because he tried to meet with district officials and gave her a letter to this effect.

   [Filing No. 15-3 at 1, 7.] All of this stemmed from their February and March demands

   that, by May 1, he either comply, resign, or face termination. [Filing Nos. 113-4 at 45

   (Gordon Dep. Ex. 29 at p. 26, lines 1–14); 15-3 at 6.] So “forced resignation” is an apt

   description. Kluge I, 548 F. Supp. 3d at 841 (“Mr. Kluge’s forced resignation”).

                                          ARGUMENT
           The district, far from advancing its case, confirms Mr. Kluge deserves sum-

   mary judgment. For it rescinded his accommodation solely due to a few complaints

   that do not qualify as undue hardship or a legitimate reason for adverse action.
   I.      Mr. Kluge is entitled to summary judgment on his religious discrimi-
           nation claim (and the district is not) because the district revoked a
           reasonable accommodation without showing undue hardship.
           A. Mr. Kluge established a prima facie case of discrimination.
              1. The district largely concedes Mr. Kluge’s prima facie case.
           For its motion, the district concedes Mr. Kluge established his prima facie case.


                                               13
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 23 of 46 PageID #: 2321




   [Filing No. 185 at 34.] So for this motion, this Court must conclude (1) that Mr.

   Kluge’s objections to using transgender terminology are “religious in nature,” (2) that

   his beliefs are sincere, (3) that they conflicted with an employment requirement, and

   (4) that his objections caused his termination. Kluge II, 64 F.4th at 883.

         For Mr. Kluge’s motion, the district challenges only his sincerity. [Filing No.

   185 at 51–54.] Thus, it concedes the other three elements.
             2. No reasonable factfinder could doubt Mr. Kluge’s sincerity.
                a. The district wrongly attempts to hijack the sincerity analysis
                   to second-guess the contours of Mr. Kluge’s beliefs.
         Though the district styles its critique of Mr. Kluge as questioning his sincerity

   [id.], it really seeks to second-guess his beliefs and hold him to how it thinks someone

   with his beliefs should act. But as it is beyond “the judicial function and judicial com-

   petence to inquire whether petitioner or his fellow worker more correctly perceived

   the commands of their common faith,” then district officials, who do not share Mr.

   Kluge’s convictions, cannot dictate what a sincere believer would do. Thomas v. Re-

   view Bd. of Ind. Emp. Sec. Div., 450 U.S. 707, 716 (1981) (emphasis added).

         The sincerity analysis looks “to weed out sham claims.” Korte v. Sebelius, 735

   F.3d 654, 683 (7th Cir. 2013). It asks “whether [Mr. Kluge] is (in essence) seeking to

   perpetrate a fraud on the court—whether he actually holds the beliefs he claims to

   hold.” Yellowbear v. Lampert, 741 F.3d 48, 54 (10th Cir. 2014); Davila v. Gladden,

   777 F.3d 1198, 1204 (11th Cir. 2015) (same); Gillette v. United States, 401 U.S. 437,

   457 (1971) (letting courts assess if a belief is “truly held”). 1 It “can bear only so much

   adjudicative weight.” Gillette, 401 U.S. at 457. So the Seventh Circuit “tread[s]

   lightly” in this “sensitive area,” “does not require a deep analysis of [Mr. Kluge’s]


   1  Littlefield v. Forney Indep. Sch. Dist., 268 F.3d 275, 293 (5th Cir. 2001) (noting
   sincerity “separate[s] sincere beliefs from fraudulent beliefs”); Patrick v. LeFevre, 745
   F.2d 153, 157 (2d Cir. 1984) (“Sincerity analysis … provides a rational means of dif-
   ferentiating between those beliefs that are held as a matter of conscience and those
   that are animated by motives of deception and fraud.”).

                                               14
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 24 of 46 PageID #: 2322




   conscious and/or subconscious reasons or motives for holding his beliefs,” and gives

   “great weight” to his explanation of his beliefs. Adeyeye, 721 F.3d at 448, 452–53.

         The district presented no evidence Mr. Kluge is “perpetrat[ing] a fraud on the

   court” by saying he believes things he really does not. Yellowbear, 741 F.3d at 54. Nor

   did it point to anything suggesting he had another, non-religious motive for objecting

   to the mandated transgender terminology. Nor does it dispute his devout faith, his

   consistent objection to using these terms, or his resolve in sticking to and defending

   his beliefs despite real pressure. [Filing No. 183 at 21.] Kluge I, 548 F. Supp. 3d at

   832 n.5 (“[I]t is undisputed that BCSC was aware of [his] religion-based objections[.]”).

         Just being “willing to risk [one’s] job” to follow one’s beliefs shows sincerity.

   Adeyeye, 721 F.3d at 454. Mr. Kluge, who faced multiple comply-resign-or-get-fired

   ultimatums, went further. He remained faithful to his religious beliefs even when

   doing so cost him his teaching career. That more than amply demonstrates sincerity.
                b. The district misrepresents the teachings of Mr. Kluge’s pres-
                   bytery, teachings Mr. Kluge modeled.
         To sidestep this precedent and evidence, the district points to a few lines from

   the Book of Church Order of Mr. Kluge’s presbytery. [Filing No. 185 at 52–53.] Yet

   the presbytery does not endorse a person’s declared transgender identity. So it does

   not let transgender-identifying people use the restroom of their choice, directing them

   instead to a “single-stall” restroom only until “pastoral counseling” can occur. [Filing

   No. 120-4 at 12.] Nor does it condone the use of transgender terms. [Id. at 8–16.]

         These beliefs parallel Mr. Kluge’s. Just as the presbytery does not instantly

   insist that transgender-identifying people use restrooms matching their biology, Mr.

   Kluge does not insist on using students’ birth names or biological pronouns. Just as

   the presbytery does not endorse a person’s declared transgender identity by letting

   him use any restroom, Mr. Kluge does not promote transgenderism by using its

   terms. If anything, Mr. Kluge is more accommodating as he feels no duty to counsel



                                              15
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 25 of 46 PageID #: 2323




   students on transgenderism. [Filing No. 120-3 at 8 (Kluge Dep. p. 29, lines 1–10).]

         Not only is there no tension between Mr. Kluge’s beliefs and his presbytery’s,

   but friction cannot show he is insincere (i.e., trying to “perpetrate a fraud on the

   court”). Yellowbear, 741 F.3d at 54. It would just show he and his presbytery differ on

   a few points, something true of countless sincere religious people (e.g., pro-abortion

   Catholics). Any reasonable juror would see that the parallels between Mr. Kluge’s

   beliefs and those of his presbytery confirm his career-sacrificing sincerity.
                c. Mr. Kluge consistently lived out his religious beliefs.
         The district primarily alleges hypocrisy: that Mr. Kluge “thought that address-

   ing students by their ‘transgender names’ promoted a transgender lifestyle and was

   therefore sinful,” but that he still used them during the awards ceremony. [Filing No.

   185 at 51.] Here, the district tilts at its own strawman, not Mr. Kluge’s sincerity.

         Mr. Kluge repeatedly explained how the Bible prohibits him from “promoting

   and encouraging transgenderism.” [Filing No. 120-3 at 33 (Kluge Dep. at p. 128, lines

   11–13); accord id. at 7 (Kluge Dep. at p. 22, lines 7–9); Filing No. 113-1 at 21–23.] He

   believes using transgender terms while “teaching a class … encourages gender dys-

   phoria.” [Id. at 8–9 (Kluge Dep. at p. 29, line 20 to p. 30, line 3.] When asked if he

   “promot[ed] a transgender lifestyle” at the awards ceremony by using transgender

   names, he replied: “I don’t believe I was as this wasn’t my habit[.]” [Id. at 33–34

   (Kluge Dep. at p. 129, line 13 to p. 130, line 9).] Those are his beliefs. Only by dis-

   torting them can the district create a mirage of inconsistency. But this the law for-

   bids. Thomas, 450 U.S. at 715 (“Thomas drew a line, and it is not for us to say that

   the line he drew was an unreasonable one.”).

         The district claims Mr. Kluge violated his “do no harm” belief by using stu-

   dents’ last names. [Filing No. 185 at 51–52.] But he does not believe this inflicts harm.

   [Filing No. 113-4 at 28 (Gordon Dep. Ex. 29 at p. 9, line 12) (“I don’t think [the accom-

   modation is] detrimental to [students.]”).] So this shows no insincerity.


                                              16
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 26 of 46 PageID #: 2324




         The district claims Mr. Kluge admitted “there are instances where it is appro-

   priate and consistent with his religious beliefs” to use transgender terms. [Filing No.

   185 at 52.] He did not. [Filing No. 120-3 at 8 (Kluge Dep. at p. 29, line 24) (“There

   might be. None come to mind right now.”).] Nor does this call his sincerity into ques-

   tion. Gillette, 401 U.S. at 448 (“Unwillingness to deny the possibility of a change of

   mind, in some hypothetical future circumstances, may be no more than humble good

   sense, casting no doubt on the claimant’s present sincerity of belief.”).

         No reasonable factfinder could question Mr. Kluge’s sincerity. His devout faith

   and clear convictions surpass Seventh Circuit standards. EEOC v. Ilona of Hungary,

   Inc., 108 F.3d 1569, 1575 (7th Cir. 1997) (finding sincerity despite plaintiff admitting

   she was “not a particularly religious person”). As he was “willing to risk [his] job,”

   and to lose it, to live out his beliefs, he proved his sincerity. Adeyeye, 721 F.3d at 454.
         B. The district withdrew the reasonable accommodation it extended
            to Mr. Kluge without the undue hardship Title VII requires.
         As Mr. Kluge established his prima facie case, the district must prove that

   accommodating him would cause undue hardship. Adeyeye, 721 F.3d at 455. [Filing

   Nos. 185 at 34; 183 at 24.] As it failed to do so, he is entitled to summary judgment.
             1. The district cannot show any increased costs that are substan-
                tial in the overall context of its business.
         The district begins its undue hardship analysis by mischaracterizing Groff,

   and then it fails to provide any evidence Mr. Kluge’s accommodation imposed the

   substantial overall costs or expenditures Groff requires. [Filing No. 185 at 34–37.]

         The district claims Groff “characterized Hardison’s reference to ‘de minimis’ as

   ‘fleeting,’ … emphasizing instead that the opinion ‘referred repeatedly to “substan-

   tial” burdens.’” [Filing No. 185 at 35 (quoting Groff, 600 U.S. at 465, 468).] But “sub-

   stantial burdens” was just a shorthand for what Hardison referenced “three times”:

   “substantial costs or expenditures.” Groff, 600 U.S. at 464 (cleaned up). Not just any

   burden, even a substantial one, suffices. It must impose substantial costs or expend-


                                               17
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 27 of 46 PageID #: 2325




   itures. Id. at 470 (“[W]e are pointed toward something closer to Hardison’s references

   to ‘substantial additional costs’ or ‘substantial expenditures.’” (cleaned up)). Thus,

   “an employer must show that the burden of granting an accommodation would result

   in substantial increased costs in relation to the conduct of its particular business,” id.

   at 470, meaning “substantial in the overall context of the employer’s business,” id. at

   468. Yet the district is not relying on administrative costs. [Filing No. 182-1 at 2.]

         To the district, Groff “intended to ‘clarify’—not significantly overturn or re-

   vise—the relevant body of law related to undue hardship.” [Filing No. 185 at 35–36.]

   Not so. Groff clarified “undue hardship” by jettisoning the “de minimis burden” stand-

   ard utilized in most rulings, including one on which this Court relied. Groff, 600 U.S.

   at 466–68 & n.12 (discussing rulings and abrogating Walmart, 992 F.3d 656). The

   sentence from Groff the district quotes refers not to “the relevant body of law” but to

   “the EEOC’s guidance.” Id. at 471. And Groff refused to “ratify in toto a body of EEOC

   interpretation that has not had the benefit of the clarification we adopt today.” Id.

         Ultimately, the district must prove Mr. Kluge’s accommodation “result[ed] in

   substantial increased costs in relation to the conduct of its particular business.” Id.

   at 470. They must be “substantial in the overall context of [its] business” (including

   its “nature, size[,] and operating cost”). Id. at 468, 470–71. The district failed. Its

   argument refers to “costs” 11 times [File No. 185 at 35–40, 44], but its only evidence

   for them is complaints. [E.g., id. at 44.] Courts cannot “equate[ ] undue hardship on

   business with an impact—no matter how small—on coworkers,” parents, or students.

   Groff v. DeJoy, 35 F.4th 162, 177 (3d Cir. 2022) (Hardiman, J., dissenting), approved

   by Groff, 600 U.S. at 472. Nowhere does the district identify any concrete global costs

   (let alone substantial ones) for letting Mr. Kluge use last names for all students.

         The district admits only Mr. Kluge got this accommodation. [Filing No. 185 at

   15 ¶ 32 (noting parents complained about “a teacher”); id. at 17 ¶ 35 (noting “all of

   [Sucec’s] teachers except Kluge” used transgender terms); id. at 18 ¶ 39 (noting Mr.


                                              18
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 28 of 46 PageID #: 2326




   Kluge “was the only teacher … permitted to use last names only”); id. at 19 ¶ 40

   (“Kluge was the only teacher who had received such an accommodation”).] So one

   teacher out of 160 declined to use transgender terms. 2 He merely used last names,

   just like staff working on the district’s musicals. [Filing No. 185 at 24 ¶ 52.] Even if

   a few people did not like this, his silence imposed no costs on the district overall.

          In short, the district must prove Mr. Kluge’s accommodation caused “substan-

   tial increased costs” “in the overall context of [its] business.” Groff, 600 U.S. at 468,

   470. It failed to identify any. So Mr. Kluge should receive summary judgment.
             2. A few third-party grumblings do not create undue hardship.
          When proving undue hardship, any interests based on a few complaints of of-

   fense, discomfort, awkwardness, or emotional harm are “off the table.” Id. at 472. This

   includes (1) “a coworker’s[, parent’s, or student’s] dislike of religious practice and ex-

   pression in the workplace or the mere fact of an accommodation”; (2) “animosity to a

   particular religion, to religion in general, or to the very notion of accommodating re-

   ligious practice”; (3) “bias or hostility to a religious practice or a religious accommo-

   dation”; and (4) “simple aversion to, or discomfort in dealing with” religious people.

   Id. at 472–73 (cleaned up). Yet this is all the district offers.
                 a. No amount of relabeling changes the fact that the district re-
                    scinded Mr. Kluge’s accommodation due to complaints.
          The district says Mr. Kluge’s accommodation harmed students, disrupted the

   learning environment, and interfered with its educational mission. [Filing No. 185 at

   31, 37–38.] Yet its only evidence is the complaints from a few students, parents, and

   teachers. [Id. at 37–38 (citing id. at 15–20 ¶¶ 32–41).] Indeed, “complain” and its

   variants appear in its brief 66 times. It reminds this Court that “‘the evidence is un-

   disputed that [it] and [its] administrators were acting because of complaints received

   from the school community.’” [Id. at 49 (quoting Kluge I, 548 F. Supp. 3d at 848).]

   2  Brownsburg High School, PUB. SCH. REV., https://bit.ly/3FNz54F; Brownsburg High
   School, U.S. NEWS & WORLD REPS., https://bit.ly/49gzs5r (164 teachers).

                                               19
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 29 of 46 PageID #: 2327




         Yet these complaints are precisely what Groff rules “off the table.” Groff, 600

   U.S. at 472. The parental complaints both came before they changed their children’s

   names in PowerSchool—when no district policy or practice even applied. [Filing Nos.

   120-12 at 2; 120-13 at 2.] The second dubs Mr. Kluge’s approach “disrespectful and

   hurtful” [Filing No. 120-13 at 2], which just shows this parent disliked, was biased

   against, or was hostile to his practice or the accommodation. Groff, 600 U.S. at 472.

         A few teachers and students objected to Mr. Kluge using last names for all

   students. Even if they “felt hurt,” “upset,” “awkward,” or “uncomfortable” [Filing No.

   185 at 16–19 ¶¶ 34, 36, 38, 41], this just shows they disliked his religious practice,

   were uncomfortable dealing with him, and resented the way the district accommo-

   dated him. None of this shows undue hardship. Groff, 600 U.S. at 472–73.

         The district faults Mr. Kluge for “mak[ing] no effort to refute this evidence or

   the Court’s reasoning.” [Filing No. 185 at 37.] But he highlighted factual flaws in

   these complaints. See supra Disputed Facts ¶¶ 10–17. The latest scientific research

   confirms his belief that promoting transgenderism harms students. See infra Argu-

   ment I.B.3. Most importantly, Groff requires that this Court’s reasoning change, as

   the complaints the district cites simply do not suffice. Groff, 600 U.S. at 472–73.

         The district says these complaints show Mr. Kluge’s accommodation “disrupted

   the learning environment.” [Filing No. 185 at 37–38.] Not so. The undisputed evi-

   dence is that his classes experienced no disruptions and that his students and orches-

   tras excelled. See supra Disputed Facts ¶¶ 11–16. [Accord Filing No. 183 at 7, 16 ¶¶

   12–14.] Every teacher has a few unhappy students. Yet learning continues.

         Next, the district focuses on Groff’s use of the “future tense” and in the process

   reiterates that complaints drove it to rescind Mr. Kluge’s accommodation. [Filing No.

   185 at 39 (“[I]t is undisputed that Brownsburg tried the … accommodation … [until]

   complaints mounted[.]”).] The district did not try “to work with” Mr. Kluge; it first

   almost fired him and later pressured him to resign. See supra Disputed Facts ¶¶ 18–


                                             20
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 30 of 46 PageID #: 2328




   19. So Draper v. U.S. Pipe & Foundry Co., 527 F.2d 515 (6th Cir. 1975)—the case the

   district cites [Filing No. 185 at 40]—offers it no support. For district officials did not

   try “various methods of accommodation.” Draper, 527 F.2d at 520. They acceded to

   Mr. Kluge’s accommodation only until complaints arose, and then they pressured him

   to resign, rescinded the accommodation in Transgender Questions, and announced

   they would only “accommodate people who follow the policies.” [Filing No. 183 at 8–

   12.] Also, Draper holds: “The objections and complaints of fellow employees, in and of

   themselves, do not constitute undue hardship…. If employees are disgruntled be-

   cause an employer accommodates its work rules to the religious needs of one em-

   ployee, … such grumbling must yield to the single employee’s right to practice his

   religion.” Draper, 527 F.2d at 520 (quotation omitted). Groff says the same.

         Later, the district notes it retained the uniform accommodation. [Filing No.

   185 at 43, 49.] So it keeps accommodations that spark no complaints. Groff rejects

   this approach because if “bias or hostility to a religious practice or a religious accom-

   modation provided a defense to a reasonable accommodation claim, Title VII would

   be at war with itself.” Groff, 600 U.S. at 472. Title VII does not protect only popular

   beliefs. Franks v. Bowman Transp. Co., 424 U.S. 747, 775 (1976) (“If relief under Title

   VII can be denied merely because the majority … will be unhappy about it, there will

   be little hope of correcting the wrongs to which the Act is directed.”) (cleaned up).

         The district claims Mr. Kluge must prove that it or those who complained ob-

   jected to his religious rationale. [Filing No. 185 at 43.] Groff, including the sentence

   the district quotes, contradicts this. For “a coworker’s dislike of religious practice …

   or the mere fact of an accommodation is not cognizable to factor into the undue hard-

   ship inquiry.” Groff, 600 U.S. at 472 (cleaned up). The complaints targeted Mr. Kluge’s

   religious practice (i.e., using last names) and the district’s accommodation of it.

         But there is also evidence that those who complained knew the motive behind

   Mr. Kluge’s religious practice. After all, Willis’ mother emailed Mr. Kluge because


                                              21
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 31 of 46 PageID #: 2329




   she “anticipated that [he] might have difficulty with the change.” [Filing No. 185 at

   17–18 ¶ 37; accord Filing No. 58-1 at 2 ¶ 7.] And as the district claims students di-

   vined Mr. Kluge’s motives for using last names (despite him treating all students the

   same and using the coach analogy) [Filing No. 185 at 16–19 ¶¶ 34, 36, 38, 41], it is

   unreasonable to think they were unaware of his Christian convictions.

          In short, no matter how the district tries to relabel its interests, they all rest

   on the foundation of grumblings from parents, teachers, and students. And under

   Groff, all of this is now definitively “off the table.” Groff, 600 U.S. at 472.
                 b. A few third-party grumblings do not create an undue burden
                    for the district as a whole.
          The district admits only a few students, parents, and teachers complained be-

   cause it argues numbers don’t matter. [Filing No. 185 at 38.] Under Groff, they do.

   For to be an undue hardship, any increased costs must be “substantial in the overall

   context of [the district’s] business,” including its “nature, size[,] and operating cost.”

   Groff, 600 U.S. at 468, 470–71. Brownsburg High School has over 3,000 students and

   160 teachers. 3 A few complaints about one teacher does not rise to this level, espe-

   cially when the district cannot identify any concrete costs from the accommodation.
                 c. A few grumblings from those with an illegitimate expectation
                    of universal affirmation do not create undue hardship.
          The district says Mr. Kluge harmed students, citing the few complaints. [E.g.,

   Filing No. 185 at 26–27, 29, 33, 37, 39, 43.] It says “students felt hurt” when he

   avoided their “preferred first names.” [Id. at 16 ¶ 34; id. at 17 ¶ 35 (“correct name

   and pronouns”); id. at 18 ¶ 38 (“corrected name”).] It wanted transgender-identifying

   students to receive “‘official’ affirmation of their preferred identity.” [Id. at 11 ¶ 21.]

          All of this presumes students can demand that teachers signal agreement with

   their beliefs. That’s wrong. Zamecnik v. Indian Prairie Sch. Dist. No. 204, 636 F.3d

   874, 876 (7th Cir. 2011) (“[P]eople in our society do not have a legal right to prevent

   3   See supra note 2.

                                               22
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 32 of 46 PageID #: 2330




   criticism of their beliefs or even their way of life.”). Mr. Kluge was not trying to cri-

   tique students’ beliefs; he simply declined to endorse them through his own words.

         Rather than disputing this principle, the district pretends—with no legal sup-

   port—First Amendment cases do not apply. [Filing No. 185 at 44–45.] Yet the district

   often cites “its particular business.” [Id. at 35–36, 39 (quoting Groff, 600 U.S. at 470).]

   As a public school, it is subject to the First Amendment. It also invokes Title IX. [Id.

   at 40–42.] If Title IX is relevant, why isn’t the First Amendment? If the First Amend-

   ment invalidates an endorsement-based interest, then Mr. Kluge’s accommodation

   imposes no hardship, let alone an undue one. 42 U.S.C. § 2000e(j). Plus, courts “have

   often looked to Title VII law for help in delineating plaintiffs’ rights under” the First

   Amendment. Genas v. N.Y. Dep’t of Corr. Servs., 75 F.3d 825, 832 (2d Cir. 1996); Ken-

   nedy v. Bremerton Sch. Dist., 597 U.S. 507, 571 n.5 (2022) (Sotomayor, J., dissenting)

   (explaining “[t]he notion that integration of religious practice into the workplace may

   require compromise and accommodation is not unique to” either public employers or

   the Establishment Clause and briefly conducting a Title VII analysis). So it makes

   sense to consider First Amendment principles in defining Title VII’s boundaries.
             3. It is the district’s policy that poses the real harm to students.
         The district oft invokes its interest in avoiding student harm. [Filing No. 185

   at 26–27, 29, 33, 37, 39–40, 43.] Mr. Kluge shares this desire, though he believes

   “encouraging gender dysphoria is harmful to the individual.” [Filing No. 113-1 at 21.]

   Recent research shows his accommodation poses no danger the district’s interest.

         The scientific evidence shows gender dysphoria generally subsides in time if

   allowed to do so. Over 80% (and as high as nearly 88% 4) of minors experiencing gen-

   der confusion desist (i.e., naturally align their minds with their biological sex) if left

   to themselves. 5 But those pushed further into gender confusion by trusted adults

   4 Devita Singh, et al., A Follow-Up Study of Boys With Gender Identity Disorder,
   FRONTIERS IN PSYCHIATRY (Mar. 29, 2021), https://bit.ly/3Fr55vy.
   5 AM. PSYCHOL. ASS’N, APA HANDBOOK ON SEXUALITY AND PSYCHOLOGY (2014), W.

                                               23
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 33 of 46 PageID #: 2331




   continue down that path. One study of adolescent boys with gender dysphoria found

   that “98% elected to start cross-sex hormones” after six months on puberty blockers. 6

   Other studies have consistently confirmed this detrimental result. 7

         The medical treatments for gender dysphoria (social transition, puberty block-

   ers, cross-sex hormones) have not been proven effective but pose grave risks. No reli-

   able evidence suggests that drug intervention supporting gender transition reduces

   suicide risk. The World Professional Association for Transgender Health (WPATH)’s

   own review shows no link between the use of cross-sex hormones and decreased sui-

   cide rates in gender-dysphoric individuals. 8 Multiple studies have found high suicide
   rates before, during, and after attempted gender transition. 9 A recent study found

   that rates of suicidal ideation, suicide attempts, and non-suicidal self-harm increased

   after minors began using puberty blockers and cross-sex hormones. 10



   BOCKTING, TRANSGENDER IDENTITY DEVELOPMENT at 744; James M. Cantor, Do Trans
   Kids Stay Trans When They Grow Up?, SEXOLOGY TODAY! (Jan. 11, 2016),
   https://bit.ly/3FoWtp1; Thomas D. Steensma, et al., Factors Associated With Desistence
   and Persistence of Childhood Gender Dysphoria: A Quantitative Follow-Up Study, 52
   J. OF AM. ACAD. OF CHILD & ADOLESCENT PSYCH. 6 (June 2013), https://bit.ly/3FoXkpJ.
   6   Polly Carmichael, et al., Short-Term Outcomes of Pubertal Suppression in a Se-
   lected Cohort of 12 to 15 Year Old Young People with Persistent Gender Dysphoria in
   the UK, 16:2 PLOS ONE 1 (Feb. 2, 2021), https://bit.ly/3FrBXnQ.
   7   C.M. Wiepjes, et al., The Amsterdam Cohort of Gender Dysphoria Study (1972–
   2015): Trends in Prevalence, Treatment, and Regrets, 15 J. SEX. MED. 582 (Apr. 2018);
   T. Brik, et al., Trajectories of Adolescents Treated with Gonadotropin Releasing Hor-
   mone Analogues for Gender Dysphoria, 49 ARCH. SEX BEHAV. 7, doi:10.1007/ s10508-
   020-01660-8, https://bit.ly/3OhdXsp; L.E. Kuper, et al., Body Dissatisfaction and Men-
   tal Health Outcomes of Youth on Gender-Affirming Hormone Therapy, PEDIATRICS
   (2020), https://bit.ly/4b5XlxD; Carmichael, et al., supra note 6.
   8   Kellan E. Baker, et al., Hormone Therapy, Mental Health, & Quality of Life Among
   Transgender People: A Systematic Review, 5:4 J. ENDOCRINE SOC’Y 1, 12 (2021),
   https://bit.ly/42dOINf.
   9   C.M. Wiepjes, et al., Trends in Suicide Death Risk in Transgender People: Results
   from the Amsterdam Cohort of Gender Dysphoria Study (1972–2017), 141 ACTA PSY-
   CHIATRICA SCANDINAVICA 486, 490 (2020); Jay McNeil, et al., Suicide in Trans Popu-
   lations: A Systematic Review of Prevalence and Correlates, 4:3 PSYCH. OF SEXUAL ORI-
   ENTATION & GENDER DIVERSITY 341, 348 (2017); Cecilia Dhejne, et al., Long-Term Fol-
   low-Up of Transsexual Persons Undergoing Sex Reassignment Surgery: Cohort Study
   in Sweden, 6:2 PLOS ONE 1, 5 (2011).
   10 Laura E. Kuper, et al., Body Dissatisfaction & Mental Health Outcomes of Youth
   on Gender-Affirming Hormone Therapy, 145:4 PEDIATRICS 1, 8 (2020).

                                             24
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 34 of 46 PageID #: 2332




         Likewise, no reliable evidence shows that drug intervention improves psycho-

   social outcomes. Studies showing puberty blockers’ and cross-sex hormones’ effects on

   mental health outcomes trigger “very low certainty” and suggest little or no change. 11

   Indeed, many studies report no mental health improvement after such intervention. 12

         These drug interventions also pose grave risks to children and teens, including:
             •   Impaired cognitive development, “prevent[ing] key aspects of develop-
                 ment during a sensitive period of brain organization”; 13
             •   Infertility risk, as the Endocrine Society admits; 14
             •   Reduced bone density, as children who undergo puberty suppression
                 never experience the full bone density increase associated with puberty,
                 and evidence suggests they never catch up; 15
             •   Cardiovascular decline, as the Endocrine Society admits16 and the Na-
                 tional Institute for Health and Care Exellence’s (NICE) systematic re-
                 view confirms; 17 and
             •   Limited sexual function, with WPATH’s president reporting “about
                 zero” natal males can achieve orgasm after undergoing early puberty
                 suppression followed by cross-sex hormones and vaginoplasty. 18
         Plus, the long-term safety of “treatments in children and adolescents with



   11 Evidence Review: Gonadotrophin Releasing Hormone Analogues for Children &
   Adolescents with Gender Dysphoria, NICE (2020) (NICE I), at 13; Evidence Review:
   Gender-Affirming Hormones for Children & Adolescents with Gender Dysphoria,
   NICE (2020) (NICE II), at 50.
   12 Riittakerttu Kaltiala, et al., Adolescent Development and Psychosocial Function-
   ing after Starting Cross-Sex Hormones for Gender Dysphoria, 74:3 NORDIC J. PSYCHI-
   ATRY 213, 217 (2020); Annette L. Cantu, et al., Changes in Anxiety & Depression from
   Intake to First Follow-Up Among Transgender Youth in a Pediatric Endocrinology
   Clinic, 5:3 TRANSGENDER HEALTH 196, 198 (2020); Carmichael, et al., supra note 6;
   Elizabeth Hisle-Gorman, et al., Mental Healthcare Utilization of Transgender Youth
   Before & After Affirming Treatment, 18 J. SEXUAL MED. 1444, 1447 (2021).
   13 Diane Chen, et al., Consensus Parameter: Research Methodologies to Evaluate
   Neurodevelopmental Effects of Pubertal Suppression in Transgender Youth, 5:4
   TRANSGENDER HEALTH 246, 248–49 (2020).
   14 Wylie C. Hembree, et al., Endocrine Treatment of Gender-Dysphoric/Gender-Incon-
   gruent Persons: An Endocrine Society Clinical Practice Guideline, 102:11 J. CLINICAL
   ENDOCRINAL METAB. 3869, 3878 (2017).
   15 Hembree, et al., supra note 14, at 3882; Submission of Evidentiary Material, Ex.
   27, K.C. v. Indiv. Members of the Med. Licensing Bd. of Ind., No. 1:23-cv-00595-JPH-
   KMB (June 1, 2023), ECF No. 49-10; NICE II, supra note 11, at 14.
   16 Hembree, et al., supra note 14, at 3891.
   17 NICE II, supra note 11, at 14.
   18 Michael Biggs, The Dutch Protocol for Juvenile Transsexuals: Origins & Evidence,
   49 J. SEX & MARITAL THERAPY 348, 360 (2022), https://bit.ly/3SyYjtV.

                                             25
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 35 of 46 PageID #: 2333




   gender dysphoria” is “largely unknown” as many risks manifest years later. 19 Early

   studies report substantial mortality increases from suicide, cardiovascular events,

   and other issues 10 or more years after drug and surgical intervention. One found

   suicide rates surged over 19 times the rate of controls in this population, and mortal-

   ity rates from cardiovascular disease more than doubled. 20 Another found likewise. 21

         Thus, the district has not proven that Mr. Kluge’s silence on transgenderism

   poses any genuine risk to students or any undue hardship to the district.
             4. Redefined educational interests do not create undue hardship.
         The district tries to sidestep Groff’s focus on substantial overall costs and dis-

   missal of complaints, Groff, 600 U.S. at 468, 472–73, by insisting its educational mis-

   sion makes it different than “most employers.” [Filing No. 185 at 38–39.] In the pro-

   cess, it (a) misconstrues its constitutional and statutory mandate, (b) ignores the First

   Amendment, and (c) invokes non-controlling precedent.
                a. The district ignores the scope of its educational mission.
         The district insists that its educational mission is to “educat[e] all students

   and foster[ ] a safe, inclusive learning environment for all the children it serves” and

   that this mission has “constitutional and statutory dimensions.” [Id.] But missing

   entirely is any legal support for this claimed mission—because none exists.

         Under the Indiana Constitution, the legislature must “provide, by law, for a

   general and uniform system of Common Schools, wherein tuition shall be without

   charge, and equally open to all.” IND. CONST. art. VIII, § 1. None of these terms “re-

   quire or prescribe any standard of educational achievement that must be attained by

   the system of common schools.” Bonner ex rel. Bonner v. Daniels, 907 N.E.2d 516, 520

   (Ind. 2009). “Common school” merely means schools “open to the children of all

   19 NICE II, supra note 11, at 14.
   20 Dhejne, et al., supra note 9, at 5.
   21 Henk Asscheman, et al., A Long-Term Follow-Up Study of Mortality in Transsex-
   uals Receiving Treatment with Cross-Sex Hormones, 164:4 EUR. J. ENDOCRINOLOGY
   635, 635–42 (2011).

                                              26
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 36 of 46 PageID #: 2334




   inhabitants of a town or district.” Nagy ex rel. Nagy v. Evansville-Vanderburgh Sch.

   Corp., 844 N.E.2d 481, 489 (Ind. 2006) (quoting NOAH WEBSTER, AN AMERICAN DIC-

   TIONARY OF THE ENGLISH LANGUAGE 988 (1856)); Horner v. Curry, 125 N.E.3d 584, 599

   (Ind. 2019). Nothing requires the district to make all students or parents happy. Let-

   ting Mr. Kluge call all students by last names prevents nobody from attending school.

         The district cites its “custodial and protective role.” [Filing No. 185 at 38.] But

   by “passing compulsory attendance laws that mandate the availability of public ele-

   mentary education for its citizenry,” Indiana “has recognized that public schools

   stand in the relation of parents and guardians to students …. regarding all matters

   of discipline and conduct of students.” Linke v. Nw. Sch. Corp., 763 N.E.2d 972, 979

   (Ind. 2002). Nothing about this mandates that all district employees endorse stu-

   dents’ beliefs or allows complaints to scuttle a Title VII religious accommodation.

         In short, the district points to no legal authority that defines its educational

   mission as “fostering a safe, inclusive learning environment for all” students. [Filing

   No. 185 at 39.] That may be the district’s preference. [Filing No. 15-4 at 9.] But that

   is not its legal mandate, and that preference does not cancel Title VII’s requirements.
                b. By redefining its educational mission, the district runs afoul
                   of the First Amendment.
         Public schools’ propensity to manipulate educational missions causes courts to

   suspect such arguments. One refused to rent to a religious group, citing its “educa-

   tional mission.” Gregoire v. Centennial Sch. Dist., 907 F.2d 1366, 1374 (3d Cir. 1990).

   This failed because the “definition of the groups falling within the educational mis-

   sion … is so vague that [the district] has virtually unlimited discretion in deciding

   which groups qualify.” Id. (cleaned up). If the district can define its educational mis-

   sion to prohibit an accommodation for one teacher because it sparks a few complaints,

   it also has unbridled discretion to decide what Title VII protects and what it does not.

         Justice Alito warned against the “broad argument” that lets school officials



                                             27
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 37 of 46 PageID #: 2335




   “censor any student speech that interferes with a ‘school’s educational mission.’”

   Morse v. Frederick, 551 U.S. 393, 423 (2007) (Alito, J., concurring). It “can easily be

   manipulated in dangerous ways,” including by officials who “define[ ] their educa-

   tional missions as including the inculcation of whatever political and social views”

   they hold. Id. Here, district officials—as Transgender Questions illustrates—defined

   their educational mission as requiring all staff to endorse transgenderism, so that

   they would not tolerate even one teacher’s silence. What’s worse, they announced they

   would only “accommodate people who follow the policies” [Filing No. 113-4 at 29 (Gor-

   don Dep. Ex. 29 at p. 10, lines 6–8)], as if Title VII did not exist. EEOC v. Abercrombie

   & Fitch Stores, Inc., 575 U.S. 768, 775 (2015) (“Title VII requires otherwise-neutral

   policies to give way to [Mr. Kluge’s] need for an accommodation.”).

          It is the district’s refusal to accommodate Mr. Kluge that undermines its edu-

   cational mission. For “students may not be regarded as closed-circuit recipients of

   only that which the State chooses to communicate” or “those sentiments that are of-

   ficially approved.” Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 511

   (1969). Rather, the district must teach that “tolerance is a two-way street.” Meri-

   wether v. Hartop, 992 F.3d 492, 511 (6th Cir. 2021) (cleaned up); Kennedy, 597 U.S.

   at 538 (noting “learning how to tolerate speech … of all kinds is part of learning how

   to live in a pluralistic society, a trait … essential to a tolerant citizenry”). Of course,

   it can tell students it does “not endorse speech [or here, silence] by permitting it.”

   Hedges, 9 F.3d at 1300. “If pupils do not comprehend so simple a lesson, then one

   wonders whether [the district] can teach anything at all.” Id.

          The district’s only answer is that these are First Amendment cases. [Filing No.

   185 at 44.] But the cited portions outline the constitutional limits of a public school’s

   mission (and thus its interests). And operating a public school is the district’s “par-

   ticular business.” Groff, 600 U.S. at 470. An interest or mission that the First Amend-

   ment invalidates cannot serve as the basis for an undue hardship.


                                               28
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 38 of 46 PageID #: 2336



                c. Even under the guise of “educational philosophy,” Baz v. Wal-
                   ters is no longer good law and does not control.
         Under the guise of “educational philosophy,” the district continues to rely on

   Baz v. Walters, 782 F.2d 701 (7th Cir. 1986). [Filing No. 185 at 39, 46–47.] But it

   never refutes Mr. Kluge’s points about how Groff undermines that ruling.

         The district likens the Veterans Administration’s philosophy of patient care to

   its “mission to provide a safe and supportive” environment, citing its “constitutional

   and statutory mandate.” [Id. at 39, 46–47.] No such mandate exists. See supra Argu-

   ment I.B.4.a. So its “mission” must bow to Title VII. U.S. CONST. art. VI, ¶ 2.

         The district claims Mr. Kluge is “wrong” to say (1) Baz relied on the “more than

   a de minimis cost” standard for undue hardship and (2) Groff discarded it. [Filing No.

   183 at 46.] But Baz explicitly applied it. Baz, 782 F.2d at 706 (undue “hardship has

   been construed as anything more than a de minimis cost to the employer”); id. at 707

   (noting transfer “would also create more than de minimis administrative cost”). And

   Groff discarded it. Groff, 600 U.S. at 468 (“hold[ing] that showing ‘more than a de

   minimis cost’ … does not suffice to establish ‘undue burden’ under Title VII”).

         The district likens this case to Baz by pitting its educational mission against

   “Mr. Kluge’s religious opposition to transgenderism.” [Filing No. 185 at 46–47.] But

   he never sought to oppose it. He just declined to endorse it. That’s why, when asked,

   he explained his use of last names to students with the coach analogy. [Filing No.

   120-3 at 34 (Kluge Dep. at p. 130, line 20 to p. 131, line 7).] He remained neutral on

   the subject, saying nothing, focusing on his teaching [id. at 8 (Kluge Dep. at p. 8, lines

   1–10)]—similar to the VA’s philosophy of care. Baz, 782 F.2d at 704 (“a quiescent,

   passive listener”). The district was forcing him to proselytize for transgenderism.

         The district cannot define its mission to suit its ideological preferences. “Title

   VII requires otherwise-neutral policies [e.g., ‘philosophies of education’] to give way

   to [Mr. Kluge’s] need for an accommodation. Abercrombie, 575 U.S. at 775.




                                              29
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 39 of 46 PageID #: 2337



             5. Evidence not relied on by the district when it forced Mr. Kluge
                to resign cannot show undue hardship.
         When assessing Mr. Kluge’s Title VII claim, the only thing that matters is what

   the district knew and relied on “at the time [Mr. Kluge] was terminated.” Cullin v.

   Olin Corp., 195 F.3d 317, 324 (7th Cir. 1999). Anything it did not know or rely on

   then “is totally irrelevant.” Id. [Accord Filing No. 183 at 28–30.]

         The district first admits the evidence it touts often—Sucec’s departure—oc-

   curred after Mr. Kluge’s termination. [Filing No. 185 at 46 n.3.] Sucec also changed

   his name and left the orchestra after that. See supra Disputed Facts ¶¶ 10, 15. This

   “evidence … gathered after [Mr. Kluge’s constructive] discharge … does not bear on

   the validity of” his termination. Venters v. City of Delphi, 123 F.3d 956, 974 (7th Cir.

   1997) (citing McKennon v. Nashville Banner Publ’g Co., 513 U.S. 352, 358–63 (1995)).

         The district tries to evade this rule with its “telephone” theory of evidence,

   where students complained at club meetings Mr. Lee attended, and Mr. Lee relayed

   them to Principal Daghe, who presumably discussed them with HR Director Gordon,

   before using them to force Mr. Kluge to resign. [Filing No. 185 at 45–46.] What’s

   missing is any evidence that (1) the two students made the same comments in club

   meetings that they made over a year later in affidavits filed after Mr. Kluge was forced

   to resign, after he filed this case, and after a transgender advocacy group tried to

   intervene; (2) Mr. Lee accurately relayed the details in those affidavits to district

   officials; and (3) district officials rescinded the accommodation based on club-meeting

   comments they never even obliquely referenced. It is the district’s duty to prove that

   it raised its “concerns … in its contemporaneous correspondence with Mr. [Kluge].”

   Kennedy, 597 U.S. at 543 n.8. As it did not, the student affidavits are irrelevant.
             6. Hypothetical litigation does not show undue hardship.
         Citing only the few complaints, the district insists Mr. Kluge’s accommodation

   created “an unreasonable risk of liability.” [Filing No. 185 at 40.] But after Groff,

   those complaints are “off the table,” do not prove undue hardship, and thus do not set


                                              30
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 40 of 46 PageID #: 2338




   aside Title VII’s mandate to accommodate. Groff, 600 U.S. at 472.

          Next, the district points to a Title IX case where a school treated students dif-

   ferently based on gender identity. [Filing No. 185 at 40 (citing Whitaker ex rel. Whit-

   aker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1038–39 (7th

   Cir. 2017)).] But Mr. Kluge treated all students the same. How a few students felt

   about this no longer matters. Groff, 600 U.S. at 472–73. And despite the district’s

   claims, “confusion in [the] classroom” does not violate Title IX. [Filing No. 185 at 42.]

          The district likens Mr. Kluge’s accommodation to “a gender-neutral bathroom

   for a transgender student.” [Filing No. 185 at 42 (citing Whitaker, 858 F.3d at 1050).]

   But Whitaker found disparate treatment because the transgender-identifying student

   “was the only student given access.” Whitaker, 858 F.3d at 1050; id. at 1040. Mr.

   Kluge never called only transgender-identifying students by their last names; he did

   this for everyone, in all of his classes, regardless of who was present. See supra Dis-

   puted Facts ¶¶ 11–16. The district provides no cases even suggesting that treating

   everyone the same could create a hostile environment or a genuine risk of liability.

          Previously, the district argued it need not permit accommodations that would

   “place [it] on the ‘razor’s edge’ of liability.” [Filing No. 121 at 41–42 (quoting Matthews

   v. Wal-Mart Stores, Inc., 417 F. App’x 552, 554 (7th Cir. 2011)). Now it distances itself

   from that case. [Filing No. 185 at 41.] Mr. Kluge never suggested its rule was limited

   to “workplace harassment cases.” [Id.] He merely observed that Matthews provides

   no support for concluding his accommodation—remaining silent on transgenderism—

   posed any real liability risk. [Filing No. 183 at 30.] The district cites two cases where

   employees sought to violate state regulations or state law. [Filing No. 185 at 41.] As

   Mr. Kluge’s accommodation did not violate either, they have no applicability.

          The district’s hypothetical litigation interest fails for it identified no “prior lit-

   igation involv[ing] circumstances similar to this case.” Minkus v. Metro. Sanitary

   Dist. of Greater Chi., 600 F.2d 80, 83 (7th Cir. 1979). As this last try to show an undue


                                                31
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 41 of 46 PageID #: 2339




   burden fails, terminating Mr. Kluge violated Title VII. Thus, he is entitled to sum-

   mary judgment on his religious discrimination claim.
   II.   Mr. Kluge is entitled to summary judgment on his retaliation claim
         (and the district is not) because his statutorily protected activities
         caused the district’s adverse actions.
         A. Mr. Kluge never waived his retaliation claim.
         The district insists that Mr. Kluge waived his retaliation claim. [Filing No. 185

   at 48–49.] Not so. Kluge II, 64 F.4th at 861 (“[W]e find the [retaliation] argument was

   not waived[.]”). And due to Groff, this Court must reassess this claim. For it previ-

   ously relied on “undisputed” evidence that district officials “were acting because of

   complaints.” [Filing No. 185 at 49 (quoting Kluge I, 548 F. Supp. 3d at 848).] Those

   complaints are “off the table.” Groff, 600 U.S. at 472; see supra Argument I.B.2.
         B. Mr. Kluge established a prima facie case for retaliation.
             1. The district does not contest that Mr. Kluge engaged in statuto-
                rily protected activities and suffered an adverse action.
         While the district claims Mr. Kluge “cannot establish a prima facie case of re-

   taliation,” its challenge is much narrower. [Filing No. 185 at 48.] That’s because it

   only challenges the last of the three elements: causation. [Id. at 49 (arguing lack of

   “causal connection”); Filing No. 121 at 44–45 (same).] So it admits he established the

   other two. Giese v. City of Kankakee, 71 F.4th 582, 590 (7th Cir. 2023).
             2. Mr. Kluge showed a but-for causal link between his protected
                activity and the district’s adverse actions.
         The district argues Mr. Kluge provided “no reasonable inference for a causal

   connection” [Filing No. 185 at 49] between his statutorily protected activities (i.e.,

   seeking an accommodation, opposing the district’s no-accommodation transgender

   terminology rules) and the adverse actions he experienced. [Filing No. 183 at 32–33.]

   Not so. He showed the required “but-for causal connection.” Kluge II, 64 F.4th at 895.

         When Mr. Kluge first mentioned his religious objection to lying about sex and

   gender, Superintendent Snapp grew “very angry,” engaged him in theological debate,



                                             32
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 42 of 46 PageID #: 2340




   and told him that his beliefs were “wrong.” When he held to his beliefs, the Superin-

   tendent sent him home pending termination, which only pastoral intervention pre-

   vented. [Filing No. 183 at 4–5, 15 ¶¶ 8–9.]

          When a few people complained about Mr. Kluge’s religious practice and the

   accommodation, Principal Daghe faulted him for “creating tension” and pressured

   him to resign. The upshot was that if he did not leave on his own, he could lose his

   job and future employability. [Id. at 8–9, 17 ¶¶ 16–17.] See supra Disputed Facts ¶

   18. The district criticized him for sticking to his beliefs. [Filing Nos. 15-3 at 5; 120-3

   at 24 (Kluge Dep. at p. 90, line 5 to p. 92, line 7).]

          The district next rescinded Mr. Kluge’s accommodation without warning, left

   no room for future accommodations, and openly criticized any teacher who called “stu-

   dents by their last name” and did not use transgender terms (to the district, “correct

   pronouns”), though only one had this accommodation. Officials ignored his discrimi-

   nation claims and their own policy, and demanded he follow the transgender termi-

   nology policy, resign, or be fired. When he resisted, officials threatened his summer

   pay, which forced his hand, as he needed that pay to support his family. [Filing No.

   183 at 9–12, 17–19 ¶¶ 18–27.] See supra Disputed Facts ¶¶ 19–21.

          The district contests none of these facts. So it is undisputed that the district

   subjected Mr. Kluge to a “pattern of criticism and animosity” and finally construc-

   tively discharged him. Hunt-Golliday v. Metro. Water Reclamation Dist. of Greater

   Chi., 104 F.3d 1004, 1014 (7th Cir. 1997). Mr. Kluge showed a causal connection.

          The district notes it left the uniform accommodation in place and allowed the

   last name accommodation “for some time.” [Filing No. 185 at 49.] But this just shows

   the district will accommodate religious beliefs until they spark complaints. As Title

   VII is not “at war with itself,” it requires much more. Groff, 600 U.S. at 472.

          The district claims Mr. Kluge never substantiated his claim that its “only rea-

   son for forcing [him] to resign was his religious objection to its transgender


                                               33
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 43 of 46 PageID #: 2341




   terminology rules and his insistence that Title VII entitled him to an accommodation,

   despite grumblings from third parties.” [Filing No. 185 at 50.] Not only do the facts

   mentioned above and in prior briefing validate this claim [Filing No. 183 at 33–34],

   but so does the district’s brief. For it repeatedly faults Mr. Kluge for not giving up his

   Title VII accommodation once people complained. [Filing No. 185 at 4, 21 ¶ 44, 39,

   49.] The district criticized Mr. Kluge for sticking to his convictions then, and it still

   does now. This amply shows the required causal connection for retaliation.
          C. Mr. Kluge need not prove pretext because he relied on direct proof
             and the district had no legitimate reason for forcing him to resign.
          Mr. Kluge previously pointed out that only retaliation claims relying on the

   indirect method of proof require evidence of pretext. [Filing No. 183 at 35–35.] The

   district does not contest this, but it faults him for failing to provide direct proof, which

   it contends includes “‘suspicious timing, ambiguous statements, behavior toward or

   comments directed at other employees in the protected group, and other bits and

   pieces from which an inference of discriminatory intent might be drawn.’” [Filing No.

   185 at 50 (quoting Boumehdi v. Plastag Holdings, LLC, 489 F.3d 781, 792 (7th Cir.

   2007)).] But that’s not what Boumehdi says. Rather, that quote lists examples of “cir-

   cumstantial evidence.” Boumehdi, 489 F.3d at 792. The direct method of proof re-

   quires “direct evidence of” the three elements of the retaliation analysis. Id.

          Mr. Kluge did provide direct evidence, including “what the employer said or

   did in the specific employment decision in question” and statements from those who

   “exercised a significant degree of influence over the contested decision.” Nichols v. S.

   Ill. Univ.-Edwardsville, 510 F.3d 772, 781–82 (7th Cir. 2007) (quotations omitted).

   This evidence includes Superintendent Snapp’s angry theological debate; Principal

   Daghe pressuring him to resign; the district adopting a policy that criticized the only

   teacher who declined to use transgender terms; and Principal Daghe and HR Director

   Gordon demanding that Mr. Kluge comply, resign, or get fired, even threatening his



                                               34
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 44 of 46 PageID #: 2342




   summer pay. See supra Argument II.B.2. [Filing No. 183 at 9–25.] And it includes

   Principal Daghe telling him that he would only “accommodate people who follow the

   policies.” [Filing No. 113-4 at 29 (Gordon Dep. Ex. 29 at p. 10, lines 6–8).]

         Mr. Kluge also presented circumstantial evidence. Despite the district’s claims

   [Filing No. 185 at 50], it is highly suspicious that the district would rescind an accom-

   modation granted only to one teacher (which just allowed him to remain silent on

   transgenderism) because a few people complained and then adopt a no-accommoda-

   tions policy. This, in conjunction with the efforts of district officials to pressure Mr.

   Kluge to resign and to give him repeated resign-comply-or-get-fired ultimatums,

   shows that the district was upset that he would not abandon his religious beliefs.

         This also highlights how the district failed to provide a legitimate reason for

   rescinding the accommodation. The district admits “complaints influenced [its] deci-

   sion.” [Filing No. 185 at 50.] Its 66 references to them underscore this. Yet Groff could

   not be clearer that these complaints are “off the table,” Groff, 600 U.S. at 472–73. The

   district’s only response is to try to focus on the motives of the complainants. But Groff

   forecloses this by sweeping aside complaints about “a particular religion,” “religion in

   general,” a “religious practice,” the “mere fact of an accommodation,” or the “very no-

   tion of accommodating religious practice.” Id. (cleaned up). None of these provide a

   legitimate basis for an employment decision. And as this is all the district provides,

   Mr. Kluge need not demonstrate pretext, Robertson v. Dep’t of Health Servs., 949 F.3d

   371, 378 (7th Cir. 2020), and he is entitled to summary judgment on retaliation.

                                        CONCLUSION
         The district failed to prove that accommodating Mr. Kluge caused an undue

   hardship or that it had a legitimate reason for forcing him to resign. All it offers is a

   few third-party grumblings cloaked in pedagogical rhetoric. The rhetoric has no sup-

   port; the grumblings are now “off the table.” Groff, 600 U.S. at 472. Mr. Kluge is en-

   titled to summary judgment on his religious discrimination and retaliation claims.


                                              35
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 45 of 46 PageID #: 2343




         Respectfully submitted this 26th day of January, 2024.

                                      /s/ Travis C. Barham
    MICHAEL J. CORK                   TRAVIS C. BARHAM*
    MICHAEL J. CORK, ESQ.             ALLIANCE DEFENDING FREEDOM
    5754 North Delaware Street        1000 Hurricane Shoals Road N.E., Ste. D-1100
    Indianapolis, Indiana 4620-2528   Lawrenceville, Georgia 30043
    Telephone: (317) 517–4217         Telephone: (770) 339–0774
    cork0@icloud.com                  Facsimile: (770) 339–6744
                                      tbarham@ADFlegal.org

                                      TYSON C. LANGHOFER*
                                      ALLIANCE DEFENDING FREEDOM
                                      44180 Riverside Parkway
                                      Lansdowne, Virginia 20176
                                      Telephone: (571) 707–4655
                                      Facsimile: (571) 707–4656
    * Admitted pro hac vice.          tlanghofer@ADFlegal.org

                                 Attorneys for Plaintiff




                                           36
Case 1:19-cv-02462-JMS-KMB Document 186 Filed 01/26/24 Page 46 of 46 PageID #: 2344



                                 CERTIFICATE OF SERVICE
         I hereby certify that on January 26, 2024, a digital copy of the foregoing docu-

   ment was filed electronically with the Court using its electronic filing system, which

   automatically sends an electronic notification to all attorneys of record.

         Respectfully submitted this the 26th day of January, 2024.

                                       /s/ Travis C. Barham
                                       TRAVIS C. BARHAM
                                       ALLIANCE DEFENDING FREEDOM
                                       1000 Hurricane Shoals Road N.E., Ste. D-1100
                                       Lawrenceville, Georgia 30043
                                       Telephone: (770) 339–0774
                                       Facsimile: (770) 339–6744
                                       tbarham@ADFlegal.org
                                                     Attorney for Plaintiff




                                             37
